Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 1 of 27 PageID 36476




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

  MICHELLE A. GEERY,
                                                  CIVIL ACTION NO.
        PLAINTIFF,                                6:20-cv-01975-RBD-LRH

  v.


  ETHICON, INC. and
  JOHNSON & JOHNSON,
        DEFENDANTS.



   DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AND
             SUPPORTING MEMORANDUM OF LAW

        Pursuant to Federal Rule of Civil Procedure 56(a), the Local Rules, and this

  Court’s Case Management and Scheduling Order (Doc. 101), Defendants Ethicon,

  Inc. and Johnson & Johnson file this motion for partial summary judgment on

  Plaintiff’s claims for failure to warn (Count I, III); fraud- and misrepresentation-

  based claims (Counts VI – fraud, Count VII – fraudulent concealment, Count VIII

  – constructive fraud, Count IX – negligent misrepresentation); negligent infliction

  of emotional distress (Count X); violation of consumer protection laws (Count
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 2 of 27 PageID 36477




  XIII); and gross negligence (Count XIV).1 As explained in the Memorandum of

  Law below, and as supported by the exhibits attached hereto, the above claims are

  subject to summary judgment because they are not cognizable under Florida law

  or, alternatively, Plaintiff lacks evidence to support such claim.

                       STATEMENT OF UNDISPUTED FACTS

         A.     Plaintiff is a Florida resident and underwent treatment in Florida.

         1.     Plaintiff Michelle Geery is a resident of Florida. Compl., Doc. 1, 4;

  Ex. 1: Third Am. Pl. Fact Sheet, at 2.

         2.     Plaintiff underwent surgery with Ethicon mesh products in Florida,

  and she had most of her subsequent medical care and treatment in Florida. Doc. 1,

  Short Form Compl., ¶4, 11; Third Am. Pl. Fact Sheet, at 2, 5-6, 8-10.

         B.     Plaintiff presented to Dr. Virgil Davila in September 2005,
                suffering from pelvic organ prolapse and stress urinary
                incontinence.

         3.     Plaintiff was first seen by Dr. Virgil Davila, an OB/GYN, on

  September 19, 2005. Ex. 2: Virgil Davila, M.D. Dep. (July 18, 2019), at 74:3-6.

         4.     Plaintiff provided a medical history to Dr. Davila and explained that

  she had undergone a pelvic repair surgery in the past, which had failed and resulted


  1
     Plaintiff checked the box on her Short Form Complaint to assert a “claim” for punitive
  damages (Count XIII) and “discovery rule and tolling” (Count XVIII), but those are not
  independent claims; a request for punitive damages is a measure of damages, and the discovery
  rule is a doctrine that plaintiffs must invoke and establish to find their claims timely filed.



                                                2
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 3 of 27 PageID 36478




  in Dr. Davila later finding “a really tight area in the urethral area” and “a lot of scar

  tissue in that area.” Davila Dep. at 74:7-11; 75:16-76:16; 108:17-12; 111:18-23

  (Q: “Fair to say that by this point, in September 2005, her prior anterior and

  posterior repair surgeries had failed and her cystocele and her rectocele had

  returned?” A: “That’s correct.”); 121:3-122:14.

           5.   Dr. Davila performed an examination of Plaintiff at her September 25,

  2006, visit; he diagnosed her with a “significant” “stage 3” cystocele, meaning that

  her bladder was protruding out of her vagina. Davila Dep. at 74:14-16; 110:4-

  111:8.

           6.   Plaintiff was also diagnosed with a vaginal vault prolapse and a grade

  1 to grade 2 rectocele—meaning her rectum had collapsed into her vagina. Davila

  Dep. 74:17-24; 111:10-17.

           7.   Plaintiff had occasional leaking of urine. Davila Dep. 74:25-75:3;

  111:24-112:5.

           8.   Plaintiff also reported that she was having difficulty urinating and that

  it took her a long time to urinate. Davila Dep. 112:6-10.




                                             3
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 4 of 27 PageID 36479




        C.     Plaintiff opted for surgical correction, and Dr. Davila implanted
               the Prolift and TVT-O devices on May 16, 2006.

        9.     Dr. Davila counseled Plaintiff that, to address her pelvic and urinary

  symptoms, she could opt to do nothing as her conditions were not life-threatening.

  Davila Dep. 111:14-113:13.

        10.    Dr. Davila also explained surgical options to Plaintiff. Davila Dep.

  113:10-115:4.

        11.    Plaintiff opted to proceed with a surgical procedure because her pelvic

  organ prolapse and urinary problems were impacting her life. Davila Dep. 113:10-

  19.

        12.    On May 16, 2006, Dr. Davila surgically implanted two Ethicon mesh

  medical devices for Plaintiff’s treatment: Prolift for her pelvic organ prolapse, and

  TVT-O for her urinary problems. Short Form Compl., Doc. 1, ¶6, 8-12; Third Am.

  Pl. Fact Sheet at 5.

        D.     Dr. Davila learned about the risks and safety of both the Prolift
               and TVT-O devices from multiple sources and found both devices
               to be safe and effective.

        13.    By the time of Plaintiff’s implantation surgery in May 2006, Dr.

  Davila had more than 10 years of experience with treating both pelvic organ

  prolapse and stress urinary incontinence.     Davila Dep. 83:19-84:1; 92:2-83:9;

  101:14-103:14.



                                            4
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 5 of 27 PageID 36480




         14.     At the time of his deposition, Dr. Davila had performed “close to a

  thousand” TVT-O procedures. Davila Dep. 85:19-85.

         15.     Plaintiff’s designated case-specific expert, Dr. Bruce Rosenzweig,

  identifies that Plaintiff has sustained the following injuries:2 “the need for mesh

  excision procedures, recurrent SUI urinary frequency and nocturia, pelvic pain,

  vaginal pain, voiding dysfunction, and dyspareunia.” Ex. 3: Case Specific Expert

  Report of Bruce Rosenzweig, M.D. (May 24, 2019), at 17. Yet Dr. Davila—based

  upon his education and training, review of medical literature, discussions with

  colleagues and clinical experience (Davila Dep. at 102:7-103:14)—was already

  aware at the time of Plaintiff’s implantation surgery of each of these specific risks

  and more.      (Davila Dep. at 94:6-100:13; 103:8-104:2, 105:1-106:12, 108:17-

  109:19, 119:1-6.)

         16.     At the time of Plaintiff’s surgery in May 2006, Dr. Davila found the

  TVT-O to be an effective and safe treatment for stress urinary incontinence; he had

  achieved good clinical outcomes for his patients; and he found that the benefits of

  the TVT-O outweighed the risks. Davila Dep. 88:24-89:14.




  2
     Plaintiff identified a much longer list of stated injuries, but these are the only injuries for
  which her designated expert, Dr. Rosenzweig, offers an opinion. Dr. Rosenzweig’s opinions are
  subject to a separately filed motion to exclude.



                                                  5
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 6 of 27 PageID 36481




        17.    Prior to Plaintiff’s surgery in May 2006, Dr. Davila had reviewed

  medical literature on the safety and efficacy of polypropylene meshes for the

  treatment of stress urinary incontinence, and found the literature supported their

  use. Davila Dep. 89:15-25.

        18.    Dr. Davila used the Prolift device, where he had a higher cure rate for

  anterior prolapse than an anterior colporrhaphy, from 2005 through 2007. Davila

  Dep. at 87:2-13; id. at 87:16-20 (testifying that by the time of Plaintiff’s surgery in

  2006, he had performed about 20 to 30 Prolift surgeries).

        19.    Dr. Davila experienced good clinical outcomes with the Prolift in

  treating his patients’ pelvic organ prolapse. Davila Dep. 90:10-14.

        20.    At the time of Plaintiff’s surgery in 2006, Dr. Davila’s clinical

  experience and the medical literature showed that the Prolift had an acceptable

  risk/benefit profile, supporting the device as an acceptable treatment for prolapse.

  Davila Dep. 90:15-91:8.

        21.    Dr. Davila followed his patients who had had Prolift implanted for a

  number of years, and the vast majority did not experience any complications from

  the device. Davila Dep. 90:1-9.




                                            6
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 7 of 27 PageID 36482




        E.     Dr. Davila stands by his decision to have used the Prolift and
               TVT-O devices for Plaintiff’s treatment.

        22.    Dr. Davila stands by his decision to use the Prolift and TVT-O

  devices for Plaintiff’s treatment in 2006. Davila Dep. at 46:12-20; 47:12-48:7;

  83:2-18; 145:5-19 (reaffirming that he stands by his decision to use Ethicon’s

  products for Plaintiff’s treatment as reasonable and appropriate).

        23.    Nothing in Plaintiff’s counsel’s questioning of Dr. Davila changed his

  belief that the TVT and Prolift devices were safe and effective choices for Plaintiff.

  Davila Dep. at 81:24-82:25; 83:2-18.

                              LEGAL MEMORANDUM

  I.    Summary Judgment Standard

        “The court shall grant summary judgment if the movant shows that there is

  no genuine dispute as to any material fact and the movant is entitled to judgment as

  a matter of law.” Fed. R. Civ. P. 56(a); e.g., Matsushita Elec. Indus. Co., Ltd. v.

  Zenith Radio Corp., 475 U.S. 574, 587-88 (1986); Celotex v. Catrett, 477 U.S. 317,

  323 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

  II.   Choice of law: Florida law applies to Plaintiff’s substantive claims.

        This Court, sitting in diversity, applies the choice of law test of Florida, the

  forum state. Florida applies the “most significant relationship” test of Sections 145

  and 146 of the Restatement (Second) of Conflicts of Law in personal injury

  actions. Bishop v. Fla. Specialty Paint Co., 389 So. 2d 999, 1001 (Fla. 1980).

                                            7
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 8 of 27 PageID 36483




  Plaintiff previously agreed that Florida law applies to her substantive claims. See

  Doc. 51, Pl. Resp. to Defs.’ Mot. for Summ. J., at 6.

  III.   Plaintiff conceded several claims.

         While the case was in the MDL, Defendants moved for partial summary

  judgment. Doc. 43-44. In Response (Doc. 51), Plaintiff stated that she would not

  pursue the following claims. Therefore, summary judgment should be entered.

             Manufacturing Defect (Count I (Negligence) to the extent based on

               manufacturing    defect;   Count   II      (Manufacturing Defect–Strict

               Liability)).

             Strict Liability-Defective Product (Count IV).

             Breach of Implied Warranty (Count XI).

             Breach of Express Warranty (Count XII).

             Unjust Enrichment (Count XV).

         Accordingly, the following claims remain: failure to warn (Count I –

  negligence, and Count III – strict liability); design defect (Count I – negligence,

  and Count V – strict liability); fraud- and misrepresentation-based claims (Counts

  VI – fraud, Count VII – fraudulent concealment, Count IX – negligent

  misrepresentation); negligent infliction of emotional distress (Count X); violation

  of consumer protection laws (Count XIII); and gross negligence (Count XIV).



                                            8
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 9 of 27 PageID 36484




  IV.   Several Remaining Claims are Subject to Summary Judgment.

        Several of Plaintiff’s remaining claims cannot withstand summary judgment.

  As discussed below, these claims are not cognizable under Florida law and/or

  Plaintiff lacks evidence that would raise a genuine dispute of material fact on the

  essential elements of those claims.

        A.     Plaintiff lacks causation for her Failure to Warn claim (Count I,
               III).

               (1)   Florida law, which follows the learned intermediary
                     doctrine, requires Plaintiff to establish causation between
                     an alleged defect in the warnings and her stated injuries.

        “Florida law provides that a drug manufacturer’s duty to warn is ‘directed to

  the physician rather than the patient.’” E.g., Small v. Amgen, Inc., 723 F. App’x

  722, 724 (11th Cir. 2018). “The rationale for this doctrine is that the prescribing

  physician, who serves as a ‘learned intermediary,’ is in the best position to weigh

  ‘potential benefits against the dangers in deciding whether to recommend the drug

  to meet the patient’s needs.’” Id. at 724-25 (citing Felix v. Hoffmann-LaRoche,

  Inc., 540 So.2d 102, 104 (Fla. 1989)).

        Consistent with the learned intermediary doctrine, to succeed on a failure to

  warn claim under Florida law, “a plaintiff must show (1) that the product warning

  was inadequate; (2) that the inadequacy proximately caused her injury; and (3) that

  she in fact suffered an injury from using the product.” Salinero v. Johnson &



                                           9
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 10 of 27 PageID 36485




  Johnson, 400 F. Supp. 3d 1334, 1344 (S.D. Fla. 2019); Hoffmann-La Roche Inc. v.

  Mason, 27 So. 3d 75, 77 (Fla. 1st DCA 2009)).

         “[A]s to the causation element, in cases involving medical devices, ‘a

  plaintiff must show that her treating physician would not have used the product

  had adequate warnings been provided.’” Salinero, 400 F. Supp. 3d at 1351-52

  (citations omitted; emphasis added); see also, e.g., Pringle v. Johnson & Johnson,

  No. 13-81022-CIV, 2020 WL 4501834, at *4 (S.D. Fla. Jan. 30, 2020) (“[t]he

  burden remains on the plaintiff to demonstrate that the additional non-disclosed

  risk was sufficiently high that it would have changed the treating physician's

  decision to prescribe the product for the plaintiff.”) (citations omitted).3

         It is the physician’s decision to still prescribe the device that can also cut off

  the causation chain and require the granting of summary judgment. Below are

  representative cases applying Florida law that demonstrate this principle, including

  cases specific to pelvic mesh products:

  3
     As the district court explained in its order granting summary judgment in Colville v.
  Pharmacia & Upjohn Co. LLC, 565 F. Supp. 2d 1314, 1322 (N.D. Fla. 2008) (citations omitted):

         In order to establish a prima facie case in this action, Florida law requires Plaintiff
         to prove by a preponderance of the evidence, with “reasonable medical
         probability,” that Defendant’s alleged negligent failure to warn was the proximate
         cause of Plaintiff's injury. “In other words, plaintiffs must show that is ‘more
         likely than not’ that the defendant's act was a substantial factor in bringing about
         the injury.” “A mere possibility of such causation is not enough; and when the
         matter remains one of pure speculation or conjecture, or the probabilities are at
         best evenly balanced, it becomes the duty of the court to direct a verdict for the
         defendant.”



                                                   10
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 11 of 27 PageID 36486




        Small v. Amgen, Inc., 134 F. Supp. 3d 1358, 1371–72 (M.D. Fla.
        2015), aff’d, 723 F. App’x 722 (11th Cir. 2018): granting summary
        judgment for defendant-manufacturer on failure to warn claim and
        holding, in part, that “[a]s to her decision to resume Ms. Small's
        treatment with Enbrel in 2009, [the prescribing physician] testified
        that her decision would not have been altered by additional
        warnings regarding the risk of asymptomatic infections.”

        Salinero v. Johnson & Johnson, 400 F. Supp. 3d 1334, 1351-52 (S.D.
        Fla. 2019): in product liability case involving an Ethicon pelvic mesh
        product, granting summary judgment to Ethicon where “there is no
        evidence beyond Plaintiffs’ conjecture and speculation to cast doubt
        on Dr. Sepulveda’s testimony that he believed that he was fully
        apprised of the risks of implanting Artisyn Mesh—including the risk
        of fistula formation, —and still would have chosen to implant it in
        Mrs. Salinero anyway. . . .[and a] revised [Instructions for Use]
        would not have changed his decision to treat Mrs. Salinero's POP
        with Artisyn Mesh. This testimony shows a break in the causal chain
        between Defendants’ IFU warnings to Dr. Sepulveda and Dr.
        Sepulveda's treatment decision.”

        Mubita v. Bos. Sci. Corp., No. 2:13-CV-11955, 2015 WL 5838515, at
        *4–5 (S.D.W. Va. Oct. 5, 2015): in case involving pelvic mesh (MDL
        proceedings), applying Florida law and granting defendant-
        manufacturer’s motion for summary judgment; holding that
        “[w]ithout any indication that he would not have implanted the
        Obtryx had he been given such a warning, the plaintiff cannot
        establish proximate causation.”

        Oliver v. Bos. Sci. Corp., No. 2:13-CV-01736, 2015 WL 5838506, at
        *6 (S.D.W. Va. Oct. 5, 2015): in MDL proceedings, granting pelvic
        mesh manufacturer’s motion for summary judgment on failure to
        warn, and holding that where “without any indication that he would
        not have implanted the product had he been given such a
        warning, the plaintiff cannot establish proximate causation.”

        Hoffmann-La Roche Inc. v. Mason, 27 So. 3d 75, 77 (Fla. Dist. Ct.
        App. 2009): in product liability case involving allegations of irritable
        bowel disorder caused by Accutane, granting summary judgment to
        the defendant-manufacturer where the prescribing physician testified

                                          11
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 12 of 27 PageID 36487




        that “even if the warning label contained all of the information
        suggested by Appellee’s expert, he would still have prescribed the
        medication for Appellee. Thus, any inadequacies in Accutane's
        warning label could not have been the proximate cause of Appellee’s
        injury.”

        Beyond the above cases applying Florida law, the Eleventh Circuit Court of

  Appeals, applying Georgia law—which, just like Florida law, applies the learned

  intermediary doctrine and requires the same proof to establish causation—recently

  affirmed the district court’s grant of summary judgment in a pharmaceutical case

  in Hubbard v. Bayer HealthCare Pharm. Inc., 983 F.3d 1223 (11th Cir. 2020). In

  Hubbard, the court explained that “even when viewed in the light most favorable

  to the [plaintiffs], the evidence does not raise a genuine issue of material fact and

  that Bayer is entitled to final summary judgment as a matter of law,” because the

  prescribing physician testified that “even when provided with the most current

  research and FDA mandated warnings, as well as the information found in Bayer's

  updated 2012 Beyaz label, he would still have prescribed Beyaz to Karen

  Hubbard.” Id. at 1233 (emphasis supplied). Based on the physician’s testimony,

  the Eleventh Circuit affirmed the district court’s finding that “[t]he causal chain is

  therefore broken, and the Hubbards cannot establish proximate cause.” Id.




                                           12
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 13 of 27 PageID 36488




                (2)     Plaintiff lacks any evidence that her implanting surgeon
                        would not have chosen the Prolift and TVT-O products had
                        there been different warnings.

         Like the cases listed above, summary judgment is required here because

  Plaintiff lacks relevant, material proof of the essential element of causation.4 It

  bears repeating that the duty to warn of risks associated with the products ran only

  to Dr. Virgil Davila, Plaintiff’s implanting surgeon; there is no duty to warn

  Plaintiff herself. See also, e.g., Beale v. Biomet, Inc., 492 F. Supp. 2d 1360, 1371-

  73 (S.D. Fla. 2007) (under Florida law, the duty of the manufacturer of a

  prescription drug or device runs to the physician rather than the patient); Baker v.

  Danek Med., 35 F. Supp. 2d 875, 881 (N.D. Fla. 1998) (“manufacturers of

  prescription medical products have a duty only to warn physicians, rather than

  patients, of the risks associated with the use of a product”). Defendants emphasize

  this because Plaintiff’s response may point to evidence about whether she (i.e.,

  Plaintiff) would have chosen the product—but that is irrelevant and immaterial to

  this inquiry, because the learned intermediary doctrine applies. Plaintiff will also

  presumably try to point to testimony of Dr. Davila, where Plaintiff’s counsel

  4
    Defendants are not moving for summary judgment regarding Plaintiff’s failure to prove the
  warnings were inadequate. Instead, the sole ground for summary judgment on the failure to
  warn claim is Plaintiff’s inability to raise a genuine dispute of material fact on the essential
  element of causation. Defendants point this out because Plaintiff, in her Response in the MDL,
  devoted much argument to whether the warnings were adequate. Any such argument is a red
  herring, as adequacy of the warning is simply not an issue presented to the Court in this motion.
  Plaintiff’s lack of proof of causation, alone, is dispositive of this claim.



                                                 13
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 14 of 27 PageID 36489




  elicited answers about whether he would have liked to have known certain

  information and/or whether he would have passed along that information to his

  patients—but this is inadmissible, immaterial, irrelevant, and speculative. See,

  e.g., Mubita, 2015 WL 5838515, at *5 (granting summary judgment even where

  the prescribing physician testified that he “’possibly’ would have informed his

  patients had he known about the [additional] warning,” but would not have

  changed his decision to implant the device). What a prescribing physician, in

  hindsight, would have liked to have known and/or what information he may have

  shared with his patient is not material to the causation inquiry on a motion for

  summary judgment. Instead, the only issue under Florida law is whether Plaintiff

  can meet her burden: to come forward with evidence to show that, had there

  been different warnings in the Prolift and TVT-O IFUs, Dr. Davila would

  have changed his treatment decision to use those two products for Plaintiff’s

  treatment at the time of her May 2006 implantation surgery. See authority

  cited supra.

        Plaintiff cannot satisfy her burden. To the contrary, Dr. Davila testified that

  his decision to use both the Prolift and TVT-O for Plaintiff was reasonable and

  appropriate and that he stands by this decision:

        Q.       So when you mentioned at the time, you know, you thought this
                 was a good -- a good option, have you learned information


                                           14
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 15 of 27 PageID 36490




              since then that might cause you to think there were better
              options?

        A.    I think at the time it was the right choice and I think at the
              time for many patients it was the right choice, and I
              believed that because I was trained well and I was
              comfortable doing it, I think my patients did well, but I can
              see how if somebody is not trained well or somebody who
              doesn't have any experience, it may not be the right choice.

        ***

        Q.    If, as it turns out, Ms. Geery has had three mesh removal
              surgeries, including one as recently as 2017, and currently
              undergoes pelvic floor therapy and pain management, looking
              back with what you know now, unfortunately in hindsight, was
              the Prolift the best device for her for her prolapse?

        A.    Looking back, she had issues, you know, but, you know, any
              type of surgery you can have issues, unfortunately, we have
              no way of predicting that, but I think at the time it seemed
              like a viable option for her.

        Q.    Sure. Yeah, at the time, based upon what you knew, it was
              the option that you recommended to her; is that fair?

        A.    Correct. Yeah.

        Q.    Okay. And that’s based upon what you knew about the risk
              profile at the time; is that fair?

        A. That's fair, yeah.

  Davila Dep. at 46:12-20; 47:12-48:7 (emphasis added; objections omitted). Not

  only does Dr. Davila stand by his decision in May 2006 to use the two products for

  Plaintiff’s treatment, he also testified that nothing in Plaintiff’s counsel’s

  questioning changed his testimony:



                                         15
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 16 of 27 PageID 36491




        Q.    Doctor, let me -- let me cut to the chase here. In your practice
              did you find TVT-O to be a safe and effective treatment option
              for stress incontinence in your patients?

        A.    Yes.

        Q.    And the TVT-O, you would agree, was a reasonable and
              appropriate choice to treat Ms. Geery's stress incontinence in
              2006?

        A.    Correct.

        Q.    Do you stand by your recommendation and decision to use
              TVT-O to treat Ms. Geery’s stress incontinence in 2006?

        A.    Yes.

        Q.    And nothing Plaintiff's counsel discussed with you changed
              that, correct?

        A.    No.

        Q.    In other words, yes, correct?

        A.    Correct.

        Q.    And likewise, at the time in 2016 [sic: 2006], it was reasonable
              and appropriate to use Prolift to treat Ms. Geery's pelvic organ
              prolapse which involved the collapse of both her bladder and
              her rectum into her vagina?

        A.    Yes.

  Davila Dep. at 81:24-82:25 (emphasis added; objection omitted); see also id. at

  145:5-19 (reaffirming that he stands by his decision to use Ethicon’s products for

  Plaintiff’s treatment as reasonable and appropriate). He continued:

        Q.    And was that decision by you to use Prolift to treat her prolapse
              in 2006 supported by both the medical literature at the time and
              by your own clinical experience with Prolift?

                                          16
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 17 of 27 PageID 36492




        A.     Yes.

        Q.     And do you stand by your decision to use Prolift to treat Ms.
               Geery's pelvic organ prolapse in 2006?

        A.     Yes.

        Q.     And nothing Plaintiff's counsel said to you today changes
               that, right?

        A.     No.

        Q.     In other words, it does not, correct?

        A.     It does not.

  Davila Dep. at 83:2-18 (emphasis added; objection omitted). What is more, at the

  time of Plaintiff’s surgery in May 2006, Dr. Davila was already aware of the risk

  of the complications Plaintiff’s designated case-specific expert, Dr. Bruce

  Rosenzweig, identifies that Plaintiff has sustained.      See Davila Dep. at 94:6-

  100:13; 103:8-104:2, 105:1-106:12, 108:17-109:19, 119:1-6.

        Even beyond the above, what is perhaps most critical (and dispositive) is

  what Plaintiff’s counsel did not elicit. There is no testimony by Dr. Davila that, had

  there been other warnings in the Prolift and TVT-O IFUs, he would have changed

  his treatment decision for Plaintiff. Absent proof on that essential item, summary

  judgment must be entered on Plaintiff’s failure to warn claim. As the district court

  explained in several cases cited above including Salinero, “in cases involving

  medical devices, ‘a plaintiff must show that her treating physician would not have



                                           17
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 18 of 27 PageID 36493




  used the product had adequate warnings been provided.’” E.g., Salinero, 400 F.

  Supp. 3d at 1344-45.5 Plaintiff has failed to do so.

         For these reasons, Plaintiff lacks evidence on the essential element of

  causation, and her failure to warn claim is subject to summary judgment.

         B.     Plaintiff’s fraud and misrepresentation claims fail because they
                are not cognizable and, alternatively, lack proof of causation.

         Plaintiff also cannot sustain her claims for fraud (Count VI), fraudulent

  concealment      (Count      VII),    constructive     fraud    (Count      VIII),    negligent

  misrepresentation (Count IX), or consumer fraud (Count XIII).

         First, Plaintiff’s fraud- and misrepresentation-based claims are not

  cognizable. As a matter of law under Florida’s learned intermediary doctrine, any

  representations were made only to the implanting surgeon—not to Plaintiff. The

  Florida Supreme Court recognizes the learned intermediary doctrine in cases where

  the product (here, a medical device) may only be prescribed and implanted by a

  licensed physician. See Felix, 540 So. 2d at 105 (Fla. 1989). In these cases, “a

  manufacturer of prescription drugs or products discharges its duty to warn by


  5
    See also Hubbard, 983 F. 3d at 1233 (affirming summary judgment on failure to warn claim;
  explaining that “[m]ost importantly, Dr. Rowley unambiguously testified that he views his
  December 2011 decision to prescribe Beyaz to Karen Hubbard as an appropriate one, even now
  that he knows exactly what was included in the 2012 label. At his deposition, after having
  discussed the risks listed in the 2012 Beyaz label as well as risks discussed in previous studies
  and FDA warnings, Dr. Rowley was asked ‘Do you believe today that your decision to prescribe
  Beyaz for Mrs. Hubbard was appropriate?’ He responded, ‘Yes.’”).



                                                 18
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 19 of 27 PageID 36494




  providing the physician with information about risks associated with those

  products.” E.g., Salinero, 400 F. Supp. 3d at 1345–46 ( (citing, e.g., Felix, 540

  So. 2d at 104). “Where the learned intermediary doctrine applies, ‘the duty to

  warn is directed to physicians rather than patients,” because the “prescribing

  physician acts as an intermediary between the manufacturer and the consumer,

  weighing the potential benefits of a device against the dangers in deciding whether

  to recommend it to meet the patient's needs.” Id. (citing Felix, 540 So. 2d at 104);

  Beale v. Biomet, Inc., 492 F. Supp. 2d 1360, 1371-73 (S.D. Fla. 2007) (under

  Florida law, the duty of the manufacturer of a prescription drug or device runs to

  the physician rather than the patient); Baker v. Danek Med., 35 F. Supp. 2d 875,

  881 (N.D. Fla. 1998) (“manufacturers of prescription medical products have a duty

  only to warn physicians, rather than patients, of the risks associated with the use of

  a product”); Mubita, 2015 WL 5838515, at *4-5.

        In light of the learned intermediary doctrine, Plaintiff’s claims of fraud

  and/or misrepresentation fail. Plaintiff did not receive, and could not have relied

  on, any alleged representations or misrepresentations from Ethicon. Instead, any

  representations by Ethicon were made to Dr. Davila, the prescribing physician.

  And “[s]imilarly, the ultimate consumer of an alleged defective product cannot

  prove reliance on a misrepresentation of fact about which she has no knowledge.”

  Cruz v. Mylan, Inc., No. 8:09CV1106T17EAJ, 2010 WL 598688, at *3 (M.D. Fla.

                                           19
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 20 of 27 PageID 36495




  Feb. 17, 2010). Given Florida’s recognition of the learned intermediary doctrine,

  any fraud- or misrepresentation-based claims are subject to summary judgment.

  See Nunez v. Coloplast Corp., 461 F. Supp. 3d 1260, 1267 (S.D. Fla. 2020) (citing

  Huskey v. Ethicon, Inc., 29 F. Supp. 3d 736, 741–43 (S.D.W. Va. 2014), and

  Bellew v. Ethicon, Inc., 2014 WL 6886129, at *3–4 (S.D. W. Va. Nov. 24, 2014)).

        Alternatively, these claims fail for the same reasons that the failure to warn

  claim fails: lack of causation.   See, e.g., Beale, 492 F. Supp. 2d at 1371-73

  (collecting cases) (dismissing claims for negligence, negligent misrepresentation,

  strict product liability, and alleged violations of the Florida Deceptive and Unfair

  Trade Practices Act (FDUTPA)).         This is an additional and independently

  sufficient ground for summary judgment.

        Further, the claim of Constructive Fraud (Count VIII) fails. “Under Florida

  law, constructive fraud occurs ‘when a duty under a confidential or fiduciary

  relationship has been abused or where an unconscionable advantage has been

  taken.’” Am. Honda Motor Co. v. Motorcycle Info. Network, Inc., 390 F. Supp. 2d

  1170, 1179 (M.D. Fla. 2005). No such relationship has been (or could be) alleged

  between Plaintiff and Ethicon. This claim is subject to summary judgment.

        Plaintiff also asserts a claim for “Fraudulent Concealment” (Count VII), but

  it was not pleaded as a stand-alone claim under Florida law in Plaintiffs’ Master




                                          20
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 21 of 27 PageID 36496




  Complaint in the MDL. Ex. 4: Pretrial Order No. 15, First Am. Master Long Form

  Compl., MDL No. 2327, available at https://www.wvsd.uscourts.gov/MDL/

  ethicon/orders.html, at ¶ 148-156.6 Indeed, it only relates to whether Plaintiff can

  prove, through tolling (based on alleged fraudulent concealment), that her action

  was timely filed.       See Mubita, 2015 WL 5838515, at *5 (granting summary

  judgment on claim for fraudulent concealment).

         On any of the above, independent grounds, Plaintiff’s fraud-based claims

  and claim for negligent misrepresentation are subject to summary judgment.

         C.      Plaintiff has no evidence for a Negligent Infliction of Emotional
                 Distress claim (Count X).

         Plaintiff also asserts a claim for Negligent Infliction of Emotional Distress

  (Count X), but this claim is not cognizable here and would fail for lack of evidence

  anyway.

         Under Florida law, “the elements required to allege a cause of action for

  negligent infliction of emotional distress [are]: (1) the plaintiff must suffer a

  physical injury; (2) the plaintiff's physical injury must be caused by the

  psychological trauma; (3) the plaintiff must be involved in some way in the event

  causing the negligent injury to another; and (4) the plaintiff must have a close


  6
    It appears that plaintiffs in the MDL understood that Florida did not believe the claim to be an
  independent cause of action, as the Master Complaint does not include Florida in the list of states
  that “recognize such a cause of action.” See First Am. Master Long Form Compl. ¶149.



                                                  21
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 22 of 27 PageID 36497




  personal relationship to the directly injured person.” Zell v. Meek, 665 So. 2d

  1048, 1054 (Fla. 1995), cited in Salinero, 400 F. Supp. 3d at 1353. “Generally,

  Florida follows the ‘impact rule,’ which provides that before a plaintiff can recover

  damages for emotional distress caused by the negligence of another, the emotional

  distress suffered must flow from physical injuries the plaintiff sustained in an

  impact.’” Id. To prevail, “the physical injury must be caused by the psychological

  trauma.” Id.

        As the district court ruled in Salinero, such claim is subject to summary

  judgment where the plaintiff “may have suffered various physical injuries (such as

  her fistula), but her physical injuries allegedly were caused by defective [ ] Mesh,

  not by psychological trauma.” Salinero, 400 F. Supp. 3d at 1353. Similarly, in

  Nunez v. Coloplast Corp., 461 F. Supp. 3d 1260 (S.D. Fla. 2020), the district court

  granted summary judgment and explained that

        [t]he Court agrees with the Salinero analysis and finds it applies here,
        as well. Plaintiff's physical injuries stem directly from the allegedly
        defective product—the Altis implants. This is the entire basis of
        Plaintiff's claims. In fact, Plaintiff's emotional distress from this ordeal
        was caused by the trauma from any physical injuries related to the
        allegedly defective product. This, of course, is the opposite of an
        NIED claim. Simply, there is no proof, nor any allegation much less,
        that her alleged emotional distress caused the physical injuries.

  Nunez, 461 F. Supp. 3d at 1268.




                                            22
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 23 of 27 PageID 36498




        The same facts are present here; Plaintiff claims she suffered physical

  injuries from alleged defects in the Prolift and TVT-O devices (see, e.g., Third

  Am. Pl. Fact Sheet, at 7)—not by psychological trauma. This claim is subject to

  summary judgment.

        D.    Plaintiff’s Gross Negligence claim (Count XIV) is not cognizable.

        Under Florida law, “gross negligence is a heightened standard of proof to

  receive punitive damages under Florida law and not a stand-alone claim.” Ex. 5:

  Smith v. Ethicon, Inc., Case No. 4:20-cv-00394 (N.D. Fla. Dec. 28, 2020) (citing

  Johns-Manville Sales Corp. v. Janssens, 463 So. 2d 242, 247 (Fla. 1st DCA 1984)

  and dismissing claim for “gross negligence” in pelvic mesh case under Florida

  law). Plaintiff’s claim for Gross Negligence (Count XIV) should be dismissed.

  V.    Plaintiff cannot establish a consumer protection claim (Count XIII).

        To prove a claim under the Florida Deceptive and Unfair Trade Practices

  Act, Fla. Stat. §§ 501.201-213 (“FDUTPA”), a plaintiff must show “(1) a deceptive

  act or unfair practice; (2) causation; and (3) actual damages.” Rollins, Inc. v.

  Butland, 951 So. 2d 860, 869 (Fla. Dist. Ct. App. 2006). Plaintiff cannot establish

  this claim for several independent reasons.

        First, the FDUTPA does not apply to “[a] claim for personal injury or death .

  . . .” Fla. Stat. § 501.212(3); Barrow v. Bristol-Meyers Squibb Co., 1998 WL




                                           23
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 24 of 27 PageID 36499




  812318, at *46 (M.D. Fla. Oct. 29, 1998) (plaintiff had no claim under FDUTPA

  against a breast implant manufacturer).

        Second, the FDUTPA does not apply to “[a]n act or practice required or

  specifically permitted by federal or state law.” Fla. Stat. § 501.212(1); see also

  Prohias v. AstraZeneca Pharms., L.P., 958 So. 2d 1054, 1056 (Fla. 3rd DCA 2007)

  (FDUTPA claims properly dismissed where drug manufacturer’s promotional and

  advertising activity was supported by the FDA’s approved labeling of a

  prescription drug). The FDA cleared the TVT-O and the mesh used in Prolift

  (mesh devices that were implanted in Plaintiff) before her physician prescribed the

  medical device for her condition. Therefore, dismissal of Plaintiff’s FDUTPA

  claim is required as a matter of law.

        Third, the learned intermediary doctrine bars the FDUTPA claim, as

  discussed above. E.g., Beale, 492 F. Supp. 2d at 1372-73 (“[w]hile Plaintiffs have

  provided various names for their claims against Biomet, the claims are all

  ultimately based upon Biomet's alleged failure to warn of the risks of the device.

  Because Florida has adopted the learned intermediary doctrine, I conclude that it

  would follow the reasoning above and hold that the doctrine bars the Plaintiffs’

  claims in this case.”).

        For any of these reasons, the FDUTPA claim should be dismissed.




                                            24
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 25 of 27 PageID 36500




  VI.   CONCLUSION

        For the foregoing reasons, Defendants request that the Court enter summary

  judgment on Plaintiff’s claims for failure to warn (Count I, III); fraud- and

  misrepresentation-based     claims    (Count    VI–fraud,    Count    VII–fraudulent

  concealment,     Count      VIII—constructive       fraud,    Count    IX–negligent

  misrepresentation); negligent infliction of emotional distress (Count X); violation

  of consumer protection laws (Count XIII); and gross negligence (Count XIV).

  Defendants pray for all other relief to which they are entitled.



        This 15th day of February, 2021.

                                          Respectfully submitted,

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                                            25
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 26 of 27 PageID 36501




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                                       26
Case 6:20-cv-01975-RBD-LHP Document 121 Filed 02/15/21 Page 27 of 27 PageID 36502




                            CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the within and foregoing document

  with the Clerk of Court using the CM/ECF system which will automatically send

  email notification of such filing to the counsel of record.

        This 15th day of February, 2021.

                                          /s/ Brett Tarver
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                                            27
